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                    UNITED STATES DISTRICT COURT
          FOR THE Northern District of Illinois − CM/ECF NextGen 1.7.1.1
                               Eastern Division

Mish International Monetary Inc.
                                         Plaintiff,
v.                                                         Case No.: 1:20−cv−04577
                                                           Honorable Manish S. Shah
Vega Capital London, Ltd., et al.
                                         Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Monday, April 8, 2024:


        MINUTE entry before the Honorable Manish S. Shah: The motion to reassign
[319] is granted, and case number 24−2628 will be submitted for reassignment. No
appearance on 4/11/24 is necessary. Upon reassignment, the court will enter the parties'
proposed briefing schedule on the motion to compel in 24−2628, with Glencore's response
due 4/26/24 and Vega/Spires' reply due 5/10/24. Notices Mailed. (psm, )




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